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                                 No. 23-40076

            IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FIFTH CIRCUIT

RJ REYNOLDS TOBACCO COMPANY; Santa Fe Natural Tobacco Company,
  Incorporated, ITG Brands LLC; Liggett Group LLC; Neocom, Incorporated,
 Rangila Enterprises, Incorporated; Rangila LLC; Sahil Ismail, Incorporated; Is
                            Like You, Incorporated,

                                   Plaintiffs-Appellees,

                                        v.

FOOD & DRUG ADMINISTRATION; United States Department of Health and
 Human Services; Robert M. Califf, Commissioner of Food and Drugs; Xavier
    Becerra, Secretary, U.S. Department of Health and Human Services

                                   Defendants-Appellants.

On Appeal from the United States District Court for the Eastern District of Texas
                    Civil Action No. 6:20-cv-00176-JCB


      BRIEF OF AMICI CURIAE MEDICAL, PUBLIC HEALTH,
    AND COMMUNITY GROUPS IN SUPPORT OF DEFENDANTS-
                APPELLANTS AND REVERSAL


Scott P. Lewis                                 Of Counsel:
Austin P. Anderson                             Dennis A. Henigan
ANDERSON & KREIGER LLP                         Connor Fuchs
50 Milk Street, 21st Floor                     CAMPAIGN FOR TOBACCO-FREE KIDS
Boston, MA 02109                               1400 Eye Street, NW, Suite 1200
Tel: (617) 621-6500                            Washington, DC. 2005
Fax: (617) 621-6600                            Tel: (202) 296-5469
slewis@andersonkreiger.com                     Fax: (202) 296-5427
aanderson@andersonkreiger.com                  dhenigan@tobaccofreekids.org
                                               cfuchs@tobaccofreekids.org
Attorneys for Amici Curiae
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          SUPPLEMENTAL STATEMENT OF INTERESTED PERSONS

       Pursuant to Fifth Circuit Rules 29.2 and 28.2.1, the undersigned counsel of

record for amici curiae certifies that the following persons and entities as described

in the fourth sentence of Rule 28.2.1, in addition to those listed in the parties’ briefs,

have an interest in the outcome of this case. These representations are made in order

that the judges of this Court may evaluate possible disqualification or recusal.

              1. American Academy of Family Physicians

              2. American Academy of Pediatrics

              3. American Cancer Society

              4. American Cancer Society Cancer Action Network

              5. American Heart Association

              6. American Lung Association

              7. American Medical Association

              8. Campaign for Tobacco-Free Kids

              9. Texas Medical Association

              10.Truth Initiative

       Pursuant to Fed. R. App. P. 26.1(a), amici curiae are all non-profit

organizations committed to advancing the public health. No party to this filing has

a parent corporation, and no publicly held corporation owns 10% or more of the

stock of any of the parties to this filing.



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Dated: May 18, 2023

                                                      /s/ Scott P. Lewis
                                                      Scott P. Lewis
                                                      Attorney for Amici Curiae




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      Public health, medical, and community organizations submit this brief as

amici curiae in support of Appellants, urging reversal of the District Court decision

vacating the rule requiring large, graphic health warnings for cigarette packages and

advertisements. All parties have consented to the filing of this brief.1 See Fed. R.

App. P. 29(a)(2).

              STATEMENT OF INTEREST OF AMICI CURIAE
      Amici here include the following public health, medical, and community

organizations: American Academy of Family Physicians, American Academy of

Pediatrics, American Cancer Society, American Cancer Society Cancer Action

Network, American Heart Association, American Lung Association, American

Medical Association, Campaign for Tobacco-Free Kids, Texas Medical Association,

and Truth Initiative.

      Each of the amici has a direct interest in implementation of the health

warnings mandated by the Food and Drug Administration (“FDA”) rule at issue

here, Tobacco Products; Required Warnings for Cigarette Packages and

Advertisements, 85 Fed. Reg. 15,638 (Mar. 18, 2020) (“2020 Rule”). They are




1
  Pursuant to Fed. R. App. P. 29(a)(4)(E), amici affirm that no party’s counsel
authored this brief in whole or in part, neither the parties nor their counsel
contributed money that was intended to fund preparing or submitting this brief, and
no person—other than amici, their members, or their counsel—contributed money
that was intended to fund preparing or submitting the brief.
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united in the conviction that the large, graphic health warnings mandated by the 2020

Rule are essential for the effective communication to the public of the extraordinary

range of adverse health effects from smoking. These organizations have specialized

and relevant expertise, particularly in how to effectively communicate the risks of

smoking to the public. Amici have spent decades designing, implementing, and

evaluating public education campaigns to communicate the adverse health effects of

smoking. This is particularly relevant experience and expertise given the District

Court’s conclusion that the effectiveness of public education campaigns about the

risks of smoking makes large, graphic warnings on cigarettes unnecessary. Opinion

and Order, R.J. Reynolds Tobacco Co. v. FDA, No. 6:20-cv-00176, Doc. 106 (Dec.

7, 2022) (“Op.”). In fact, large, graphic health warnings on every pack of cigarettes

and on all cigarette advertising would materially enhance the efforts of amici to

educate the public about the health harms of smoking and, in the case of amici

medical organizations and physicians, to effectively communicate these harms to

patients. These groups, among many other public health groups, filed extensive

formal comments with FDA supporting the Proposed Rule, 84 Fed. Reg. 42,754

(Aug. 16, 2019),2 and filed an amicus curiae brief in the District Court.




2
 Comments on Tobacco Products, Required Warnings for Cigarette Packages and
Advertisements by 39 Public Health Organizations, Docket No. FDA-N-3065 (Oct.
15, 2019), [cont.]
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           INTRODUCTION AND SUMMARY OF ARGUMENT
      Since the Supreme Court’s decision in Zauderer v. Office of Disciplinary

Counsel, 471 U.S. 626, 651 (1985), mandatory disclosures of “purely factual and

uncontroversial” information about products and services have been subject to less

exacting First Amendment scrutiny than limitations on commercial speech. This

distinction is grounded in the Zauderer Court’s observation that “the extension of

First Amendment protection to commercial speech is justified principally by the

value to consumers of the information such speech provides.” Id. As the Supreme

Court concluded, the “constitutionally protected interest in not providing any

particular factual information” in advertising “is minimal.” Id. The Supreme Court

therefore refused to subject mandatory factual disclosures to the “intermediate

scrutiny” applied to restrictions on commercial speech in Central Hudson Gas &

Elec. Corp. v. Public Serv. Comm’n of N.Y., 447 U.S. 557 (1980). Id.

      Under Zauderer, the required disclosure of “purely factual and

uncontroversial information” about a product or service does not violate the First

Amendment if it is “reasonably related” to a governmental interest and does not

unduly burden protected speech. Id. In deciding that the 2020 Rule warnings did




https://www.tobaccofreekids.org/assets/content/what_we_do/federal_issues/fda/20
19_10_15_required_warrnings_advertisements.pdf.


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not convey “purely factual and uncontroversial” information about the health

dangers of smoking, and thus declining to apply Zauderer, the District Court erred

by speculating about various possible interpretations that could be given the graphic

elements of each warning, standing alone. The District Court pointed to no record

evidence that the combined textual and graphic elements are subject to differing

interpretations and thus would not convey purely factual information. The messages

conveyed by the combined text and graphics in the 2020 Rule warnings are entirely

factual, and the warnings serve the government’s interest because those facts are

communicated far more effectively by the larger size of the warnings and by the

inclusion of concordant graphic images, when compared to the current, smaller text

warnings. Therefore, the 2020 Rule warnings are constitutional under Zauderer.

      Even under the “intermediate scrutiny” standard applied in Central Hudson to

restrictions on commercial speech, the 2020 Rule warnings do not violate the First

Amendment because they directly advance a substantial governmental interest and

are no more extensive than necessary to serve that interest. See Central Hudson,

447 U.S. at 564. The government interest on which FDA relies—increasing public

understanding of the health hazards of smoking—is vitally important, given the

uniquely devastating health consequences of smoking and the decades of lies and

deception by the cigarette companies, including plaintiff R.J. Reynolds, in denying

those devastating health consequences. Large, graphic health warnings directly


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advance the government’s interest because (1) the current small, textual health

warnings on cigarettes are barely noticed, particularly by youth; (2) there are

significant gaps in the public’s understanding of the full range of smoking-related

diseases; (3) the scientific literature demonstrates that larger warnings, with graphic

elements, lead to greater public understanding of the health hazards of smoking, and

(4) FDA’s own studies demonstrate that the specific 2020 Rule warnings increase

consumer understanding of the health harms of smoking.

      Finally, the 2020 Rule warnings do not unduly burden the protected speech of

the cigarette companies, leaving them with ample opportunities to convey their

commercial message. Moreover, because the warnings accompany the products

themselves, they have a unique communicative power at the point of sale and prior

to use that is not replicated by public education campaigns and other alternative

communication avenues suggested by the District Court. Thus, contrary to the

District Court’s conclusion, the 2020 Rule warnings meet the Central Hudson

criteria of being no more extensive than necessary to serve the government’s interest

in enhancing public understanding of the full range of health risks of cigarettes.

      Therefore, under either Zauderer or Central Hudson, the 2020 Rule warnings

of the hazards of cigarettes are consistent with the First Amendment.




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                                   ARGUMENT

I.    THE 2020 RULE’S HEALTH WARNINGS COMMUNICATE FACTUAL AND
      UNCONTROVERSIAL INFORMATION AND THUS SHOULD BE EVALUATED
      UNDER ZAUDERER.

      Contrary to the District Court decision, because the 2020 Rule warnings

convey purely factual and uncontroversial information about the health hazards of

smoking, their constitutionality under the First Amendment should be governed by

the standards set forth in Zauderer.

      A.     In Finding the 2020 Warnings Non-Factual, the District Court
             Incorrectly Assumed that the Graphic Elements Convey a Message
             Distinct from the Textual Warnings.

      The 2020 Rule mandates eleven textual warnings of the health hazards of

smoking, each paired with a concordant, factually accurate image depicting the

health hazard described in the textual warnings. For example, one warning consists

of the text “WARNING: Smoking causes head and neck cancer” paired with an

image accurately depicting neck cancer, with a woman who has a visible tumor

protruding from the right side of her neck. FDA carefully marshalled the scientific

evidence supporting the accuracy of each textual warning, relying largely on a series

of U.S. Surgeon General Reports. Proposed Rule, 84 Fed. Reg. at 42,773-77.

      The District Court did not question the factual accuracy of the textual

warnings. Instead, it found the Zauderer test inapplicable in part because “it is

unclear how a court would go about determining whether its graphic aspect is



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‘accurate’ and ‘factual’ in nature,” using the head and neck cancer warning as an

example. Op. 28. But this is the wrong inquiry. The lower court assumed that the

graphic aspect of the warning label will somehow convey a different message than

the textual warning and that this different message may itself not be factual. But the

consumer will only see the graphic aspect in conjunction with the textual message.

Thus, the appropriate inquiry is whether the combined textual and graphic elements

will convey a message that is factual and uncontroversial.

      The lower court speculated that “[t]he image may convey one thing to one

person and a different thing to another.” Op. 28. According to the court, as to the

head and neck cancer warning, for example, various possible interpretations of the

image include (1) viewing it “as showing a typical representation of the sort of neck

cancer caused by smoking before a person could seek medical treatment,”

(2) viewing the image “as showing a stylized, exaggerated representation of neck

cancer, perhaps in an effort to provoke repulsion,” or (3) expressing the depicted

person’s “regret at her choice to smoke or the message that smoking is a mistake.”

Id. Missing from the court’s analysis is any reason to believe that any of those

additional messages will be conveyed by the combined textual and graphic elements

of the warning. Put another way, the lower court cites nothing in the record

supporting a finding that there is any message being conveyed other than the purely

factual and uncontroversial message that “smoking causes head and neck cancer,”


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with the graphic element simply an accurate depiction of head and neck cancer. As

FDA observed about each of the warnings, “Because the required warning contains

the textual warning statement and image paired together, the image aids in

understanding the negative health consequence that is the focus of the textual

warning statement, and vice versa.” 2020 Rule, 85 Fed. Reg. at 15,675. The image

reinforces the text; the text explains the image. Together they convey a single factual

and uncontroversial message.

      Moreover, the fact that there may be many ways to graphically depict a

particular health harm from smoking does not detract from the “purely factual”

nature of the warning.     In upholding the statutory mandate of graphic health

warnings for cigarettes in Discount Tobacco City & Lottery v. U.S., 674 F.3d 509

(6th Cir. 2012), the Sixth Circuit analogized fact-based graphic health warnings for

cigarettes to the graphics used in medical textbooks:

      Students in biology, human-anatomy, and medical-school courses look
      at pictures or drawings in textbooks, of both healthy and damaged cells,
      tissues, organs, organ systems, and humans because those pictures
      convey factual information about medical conditions and biological
      systems. The argument that a picture of a specific person or part of a
      person is opinion because not every person or part of a person with that
      condition would appear the same way is unpersuasive . . . [A]rguing
      that a representation of a medical condition becomes an opinion when
      people could have that medical condition in ways that deviate from the
      representation would lead to the insupportable conclusion that textual
      or pictorial descriptions of standard medical conditions must be
      opinions as well.



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674 F.3d at 559. The Court of Appeals suggested multiple graphic representations

that would constitute factual disclosures under Zauderer, many virtually identical to

those adopted by FDA in the 2020 Rule, including “a picture or drawing of a

nonsmoker’s and smoker’s lungs displayed side by side,” and “a picture or drawing

of a person suffering from a smoking-related medical condition.” Id.

      As the Sixth Circuit also noted, although Zauderer did not address graphic

health warnings, the Zauderer opinion itself “eviscerates the argument that a picture

or drawing cannot be accurate or factual.” Id. at 560. In striking down a state rule

banning all illustrations in attorney advertising, the Zauderer Court wrote that “the

use of illustrations or pictures in advertisements serves important communicative

functions: it attracts the attention of the audience to the advertiser’s message, and it

may also serve to impart information directly.” 471 U.S. at 647.

      B.     Contrary to the District Court’s View, the 2020 Warnings Do Not
             Convey “Value-laden” Opinions.

      The District Court also drew a distinction between “purely factual” verbal

statements and statements that are “value-laden” opinions. Op. 27. It then observed

that consumers may take from the graphic images in the 2020 Rule warnings “a

value-laden message that smoking is a mistake.” Op. 28-29. According to the court,

“For that reason alone, the graphics make all of the warnings here not ‘purely factual’

and ‘uncontroversial’ within the meaning of Zauderer.” Op. 29. But that is a non

sequitur. The fact that consumers may conclude, based on the facts communicated

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by the combined textual and graphic elements of the warnings, that “smoking is a

mistake,” does not make the warnings themselves less factual or more controversial.

Indeed, consumers could reach the conclusion that “smoking is a mistake” from the

textual messages alone, with no graphic elements. The opinion that “smoking is a

mistake” may follow logically from the entirely factual warnings mandated by the

rule, but it is not expressed by those warnings. As with the required disclosure in

Zauderer, FDA here “has not attempted to ‘prescribe what shall be orthodox in

politics, nationalism, religion, or other matters of opinion or force citizens to confess

by word or act their faith therein.’” Zauderer, 471 U.S. at 651 (citation omitted).

      The absence of any expression of “value-laden” opinions in the 2020 Rule

warnings distinguishes them from the warnings issued by FDA in 2011 and found

unconstitutional in R.J. Reynolds Tobacco Co. v. FDA, 696 F.3d 1205 (D.C. Cir.

2012), overruled in part by Am. Meat Inst. v. USDA, 760 F.3d 18 (D.C. Cir. 2014)

(en banc). In finding that that the 2011 warnings “cannot rationally be viewed as

pure attempts to convey information to consumers,” the D.C. Circuit pointed to the

example of a man wearing a T-shirt emblazoned with the words “I QUIT,” as well

as the appearance of the “1-800-QUIT-NOW” number on each of the warnings. Id.

at 1216. No such “value-laden” opinions are expressed by the 2020 Rule warnings.

Whereas the court in R.J. Reynolds found that the graphic warnings in the 2011 rule

“are primarily intended to evoke an emotional response,” id., nothing in the record


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here supports such a conclusion as to the 2020 Rule warnings. The 2011 rule

warnings were tested by FDA to determine whether they caused viewers “to feel

‘depressed,’ ‘discouraged,’ or ‘afraid,’ and whether they “increased viewers’

intention to quit or refrain from smoking.” Id. at 1209. In contrast, the 2020 Rule

warnings were tested against entirely different criteria which validated the

effectiveness of the warnings in increasing consumer understanding of the health

dangers of smoking as compared to the current Surgeon General warnings. See

Proposed Rule, 85 Fed. Reg. at 42,768-69.

      Indeed, the qualitative findings from FDA studies supporting the 2020 Rule

warnings reinforce that FDA’s focus was effectively communicating factual

information. Most of the warnings perceived as most shocking were not selected for

subsequent testing, including images tested for cancer, blindness, impotence, heart

disease, and fetal effects.   ROA.1383-1423.      The agency also disagreed with

comments on the proposed rule that the images should be made more “gross” or

“shocking,” because “[t]he images are not intended to evoke negative emotions such

as fear, shame and disgust, but rather to promote greater public understanding of the

negative health consequences of cigarette smoking.” 2020 Rule, 85 Fed. Reg. at

15,670.

      Of course, the 2020 Rule warnings may well elicit emotional responses from

consumers—the health effects of smoking are inherently frightening. But the fact


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that warnings of the health effects of smoking may elicit negative emotions does not

make those warnings any less factual; indeed, it indicates that the facts are being

effectively communicated.     The 2011 warnings communicated the government’s

opinion that people should not smoke and tested their effectiveness in conveying

that opinion by assessing their emotional impact. In contrast, the 2020 Rule

warnings communicate only facts, and were assessed according to whether those

facts were effectively communicated, allowing individuals to reach their own

conclusion about whether they should smoke.

      Therefore, because the 2020 Rule warnings, with combined textual and

graphic elements, convey entirely factual and uncontroversial information about the

health effects of smoking, they should be judged under the Zauderer standards.

II.   THE HEALTH WARNINGS MANDATED BY THE 2020 RULE ARE REASONABLY
      RELATED TO, AND DIRECTLY ADVANCE, THE SUBSTANTIAL
      GOVERNMENTAL INTEREST IN INCREASING PUBLIC UNDERSTANDING OF
      THE HEALTH HAZARDS OF SMOKING.

      Beyond any doubt, the 2020 Rule warnings are “reasonably related” to a

legitimate governmental interest and thus meet the Zauderer standard.3 Moreover,



3
   Although the governmental interest served by the mandatory disclosures in
Zauderer was the prevention of consumer deception, no circuit court has adopted
the view that preventing deception is the only governmental interest that can sustain
the constitutionality of mandatory disclosures under Zauderer. See 2020 Rule, 85
Fed. Reg. at 15,644-45 (and cases cited therein). This Court also has interpreted
Zauderer to require only a reasonable relationship to a “legitimate” state interest,
“like preventing deception of consumers,” Netchoice, LLC v. Paxton, 49 F.4th 439,
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the government’s interest is sufficiently substantial, and the warnings sufficiently

advance that interest, to sustain the constitutionality of the warnings, even if they are

evaluated under the “intermediate scrutiny” of Central Hudson.

      A.     Increasing Public Knowledge of the Health Hazards of Smoking Is
             a Vitally Important Governmental Interest.

             1.     The extraordinary range of adverse health consequences of
                    smoking supports the critical importance of effectively
                    communicating those consequences.

      In issuing the 2020 Rule, FDA identified the governmental interest served by

the required warnings as “[p]roviding relevant, truthful, and non-misleading

information” about the health risks of smoking that “provides consumers with a

better opportunity to make informed choices.” 2020 Rule, 85 Fed. Reg. at 15,643.

Given the prevalence and extraordinary range of serious health harms caused by

cigarette smoking, it is difficult to imagine a governmental interest more legitimate

and important than increasing public knowledge of the risks of smoking.4 Over two




485 (5th Cir. 2022), thus treating that interest as only one example of a “legitimate”
governmental interest. In any event, the continuing need to correct the consequences
of decades of deception by the cigarette companies, including plaintiff R.J. Reynolds
(see infra pp. 15-16), would justify the 2020 Rule warnings even if correcting
consumer deception were the only legitimate governmental interest under Zauderer.
4
  The Zauderer opinion does not require a showing that the governmental interest
served by the mandatory disclosures is “substantial,” as would be required to sustain
limitations on commercial speech under Central Hudson Gas & Electric Corp. v.
Public Service Commission, 447 U.S. 557 (1980). Plainly, the administrative record
supporting the 2020 Rule demonstrates that the government’s interest in increasing
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decades ago, the Supreme Court recognized that “tobacco use, particularly among

children and adolescents, poses perhaps the single most significant threat to public

health in the United States.” FDA v. Brown & Williamson Tobacco Co., 529 U.S.

120, 161 (2000). It remains so today.

      In issuing the 2020 Rule, FDA found that “[c]igarette smoking remains the

leading cause of preventable disease and death in the United States and is responsible

for more than 480,000 deaths per year among cigarette smokers and those exposed

to secondhand smoke.” 2020 Rule, 85 Fed. Reg. at 15,652. Indeed, “smoking causes

more deaths each year than human immunodeficiency virus, illegal drug use, alcohol

use, motor vehicle injuries, and firearm-related injuries combined.” Id. Over 16

million Americans today live with smoking-related diseases, including lung cancer,

heart disease, and chronic obstructive pulmonary disease (COPD). Id. FDA relied

on the 2014 Surgeon General’s Report in finding that the negative health

consequences of cigarette smoking and secondhand smoke had expanded

dramatically in the fifty years since the first Surgeon General’s Report on smoking

in 1964. The 2014 Report added eleven diseases to the more than 40 unique health

consequences previously linked to smoking: liver cancer, colorectal cancer, age-




public understanding of the health harms of smoking is sufficiently important to
meet even the Central Hudson test.

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related macular degeneration, orofacial clefts in newborns from maternal smoking

during pregnancy, tuberculosis, stroke (for adults), diabetes, erectile dysfunction,

ectopic pregnancy, rheumatoid arthritis, and impaired immune function. Id. The

sheer scope of the harm cigarettes inflict on the public’s health distinguishes

cigarettes from other dangerous products and furnishes a uniquely strong

justification for large, graphic health warnings.

               2.     Decades of deception by the cigarette companies increases
                      the importance of effectively communicating the health
                      harms of smoking.

         The importance of effectively communicating the staggering range of health

risks associated with smoking is increased by the decades of deception by the

cigarette companies—including plaintiff R.J. Reynolds—about those harms.

Indeed, in United States v. Philip Morris USA, Inc., 449 F. Supp.2d 1 (D.D.C. 2006),

aff’d in relevant part, 566 F.3d 1095 (D.C. Cir. 2009), cert. denied, 130 S. Ct. 3501

(2010), the D.C. District Court found plaintiff R.J. Reynolds and other cigarette

companies liable for violating federal racketeering laws by engaging in a 50-year

conspiracy to misrepresent the truth about the health effects of smoking. The court

wrote:

         [This case] is about an industry, and in particular these Defendants, that
         survives, and profits, from selling a highly addictive product which
         causes diseases that lead to a staggering number of deaths per year, an
         immeasurable amount of human suffering and economic loss, and a
         profound burden on our national health care system. Defendants have
         known many of these facts for at least 50 years or more. Despite that

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      knowledge, they have consistently, repeatedly and with enormous skill
      and sophistication, denied these facts to the public, the Government,
      and to the public health community.

Id. at 28 (emphasis added). The court further found that “[d]efendants have not

ceased engaging in unlawful activity” and that their deception was likely to continue

into the future. Id. at 909-10. Thus, the government has a substantial interest in

increasing public knowledge of the health hazards of cigarettes, not only because of

the unique danger of these products, but also to overcome decades of fraudulent

representations by their purveyors.      This massive fraud further distinguishes

cigarettes from other dangerous products, justifying large, graphic health warnings

to ensure that the truth is finally communicated in the most effective way.

             3.    Increasing public understanding of the health harms of
                   smoking can stand alone as a vital governmental interest,
                   regardless of its impact on smoking prevalence.

      As the FDA has established, increasing public understanding of the health

harms of tobacco can stand alone as a legitimate and substantial government interest

for First Amendment purposes. In contrast, as the D.C. Circuit characterized the

2011 rule struck down in R.J. Reynolds, the interest in “effectively communicating

health information” had been conceded by FDA to describe “only the means by

which FDA is attempting to reduce smoking rates.” 696 F.3d at 1221. Indeed, in

R.J. Reynolds, the court recognized that “the government can certainly require that

consumers be fully informed about the dangers of hazardous products.” Id. at 1212.


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That, of course, is exactly what FDA’s 2020 Rule does. In striking down FDA’s

2011 Rule, the D.C. Circuit did not question that effectively communicating the

health harms of smoking could be a legitimate and substantial governmental interest.

Instead, the Court of Appeals found that this interest was “too vague to stand on its

own” because FDA had offered no “barometer” for assessing the effectiveness of

the graphic warnings other than whether “they encourage current smokers to quit

and dissuade would-be smokers from taking up the habit.” Id. at 1221. In response,

when FDA developed its 2020 Rule, FDA used several “barometers” to measure the

effectiveness of the mandated warnings in promoting understanding of the health

harms of smoking, including the key outcomes of “new information” and “self-

reported learning”—metrics that are predictive of whether the warnings will promote

greater public understanding of the health effects of cigarette smoking. 2020 Rule,

85 Fed. Reg. at 15,658-67.

      In enacting the Family Smoking Prevention and Tobacco Control Act, Pub.

L. 111-31, 123 Stat. 1776 (2009) (“TCA”), Congress explicitly found that greater

public understanding of the health hazards of smoking is itself a substantial

governmental interest. Not only did Congress include, as one of the expressed

statutory purposes, “to ensure that consumers are better informed,” but this purpose

is also embedded in the provision giving FDA the authority to revise the cigarette

warnings upon a finding that “such a change would promote greater public


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understanding of the risks associated with the use of tobacco products.” See TCA

§§ 3(6), 202(d). No showing of an impact on smoking cessation or initiation is

required.5

      In upholding the statutory requirement for large, graphic health warnings

against First Amendment attack, the Sixth Circuit affirmed the intrinsic value of

effectively communicating such information, regardless of its impact on smoking

rates: “What matters in our review of the required warnings is not how many

consumers ultimately choose to buy tobacco products, but that the warnings

effectively communicate the associated health risks so that consumers possess

accurate, factual information when deciding whether to buy tobacco products.”

Discount Tobacco, 674 F.3d at 567.




5
 The decision of the D.C. Circuit in Cigar Association of America v. FDA, 964 F.3d
56 (D.C. Cir. 2020), striking down an FDA rule requiring larger health warnings for
cigars, is not to the contrary. That case did not address whether increasing public
understanding of the health hazards of tobacco products is a substantial
governmental interest for First Amendment purposes. Rather, the court held that
FDA had issued the rule under the authority of Section 906(d)(1) of the Food, Drug
& Cosmetic Act, as amended by the TCA, without considering the impact of the
warnings on smoking cessation and initiation, as expressly required by that statutory
section. In contrast, the 2020 Rule was promulgated pursuant to the Federal
Cigarette Labeling and Advertising Act (“FCLAA”), as amended by Sections 201(a)
and 202(b) of the TCA, mandating FDA to require graphic health warnings on
cigarette packs and in cigarette advertising. The FCLAA does not require FDA to
consider the impact of graphic warnings on cessation or initiation of smoking.

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      Therefore, the government’s interest in promoting greater public

understanding of the extraordinary range of health harms of smoking is, standing

alone, a legitimate—and indeed vital—governmental interest.

      B.     The 2020 Rule Warnings Are Reasonably Related to and Directly
             Advance the Governmental Interest in Increasing Public
             Knowledge of the Health Hazards of Smoking.

             1.    The current Surgeon General warnings are ineffective.

      There are significant gaps in the public’s understanding of the full range of

smoking-relating diseases, despite decades of government and other reports and

public education campaigns about the risks of smoking. Even though many smokers

are aware that smoking causes lung cancer, knowledge of other smoking-caused

illnesses, including diseases addressed by the current Surgeon General warnings, is

much lower. Proposed Rule, 84 Fed. Reg. at 42,761. FDA marshalled substantial

evidence that the current Surgeon General’s warnings on the sides of cigarette packs

do not attract attention, are not noticed, do not prompt consumers to think about the

risks of smoking, are not remembered, do not address the breadth of negative health

consequences of smoking, and have not been updated in more than 35 years. 2020

Rule, 85 Fed. Reg. at 15,653-57. For example, FDA describes research from Wave

4 (2016-17) of the Population Assessment of Tobacco and Health (“PATH”) study,

which found that nearly three-quarters (73.5%) of the U.S. population “never” or

“rarely” noticed health warnings on cigarette packs. Proposed Rule, 84 Fed. Reg. at


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42,760. Given that 88% of long-term smokers begin smoking before the age of 18,

it is particularly consequential that, as FDA found, studies consistently show that

“adolescents . . . do not see or read, and do not remember” the current warnings.

Proposed Rule, 84 Fed. Reg. at 42,761.

       FDA found that many studies show limited public understanding of

smoking’s causal link to the diseases and conditions specifically addressed in the

2020 warnings, including bladder cancer, vision impairment, impotence and the

impact of secondhand smoke on children and adults. Id. Based on this evidence,

FDA concluded that “consumers suffer from a pervasive lack of knowledge about

and understanding of the many negative health consequences of smoking, and,

importantly, the published literature indicates that consumers do not understand the

wide range of illnesses caused by smoking.” 2020 Rule, 85 Fed. Reg. at 15,654

(emphasis in original). By focusing on serious but lesser-known health effects of

smoking, the 2020 Rule warnings will enhance the public’s understanding of the

extraordinarily broad range of serious smoking-related illnesses.

            2.     Larger warnings with graphic elements will increase public
                   understanding of the health hazards of smoking.

      In upholding the statutory mandate for larger, graphic cigarette warnings in

Discount Tobacco, the Sixth Circuit found that FDA had supplied “abundant

evidence establish[ing] that larger warnings incorporating graphics promote a

greater understanding of tobacco-related health risks.” 674 F.3d at 565. A similar

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abundance of evidence, including from the experience of other countries, supports

the conclusion that large, graphic warnings like those in the 2020 Rule are

reasonably related to, and directly advance, the governmental interest in greater

public understanding of the dangers of cigarette smoking.

      As FDA reasonably found, warnings must be large enough, and noticeable

enough, to get the consumer’s attention. Proposed Rule, 84 Fed. Reg. at 42,762.

FDA found that the small size of the current Surgeon General warnings was a

significant factor in their general ineffectiveness, id. at 42,759, concluding that

“[t]he scientific literature strongly supports that larger warnings such as those of the

size proposed in this rule, are necessary to ensure that consumers notice, attend to,

and read the messages conveyed by the warnings, which leads to improved

understanding of the specific health consequences that are the subject of those

warnings.” Id. at 42,779.

      FDA points to multiple studies in the research literature showing that graphic

health warnings increase attention, noticeability, recall, information processing, and

understanding of warnings. Id. at 42,762-65. These findings include real-world

experience in countries that have implemented graphic warnings on cigarette packs.

A major, multi-country study that compared cigarette health warnings in four high-

income countries (Australia, Canada, the United Kingdom, and the United States)

found that larger, more comprehensive warnings were more likely to be noticed and


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rated as effective by smokers. Proposed Rule, 84 Fed. Reg. at 42,760, 42,762.

Findings from this study showed that less than half (46.7 percent) of U.S.

respondents considered cigarette packages as a source of information on the negative

health effects of smoking compared to 84.3 percent of respondents in Canada, where

pictorial health warnings are required. Id. at 42,760. Another study comparing the

impact of text-only cigarette warnings in Mexico with pictorial warnings in Canada

showed that Canadian adult smokers were more likely to notice the warning label

and think about the harms of smoking. Id. at 42,762. Data from the four-country

study showed that “[s]mokers who reported noticing the cigarette health warnings

were more likely to report believing that smoking causes the specific health

consequences contained in the warnings, compared to those who did not notice the

warnings.” Id. at 42,762.

      Of particular significance is the impact of graphic health warnings on youth.

As FDA found:

      Research supports that exposure to pictorial cigarette warnings leads to
      knowledge gains about the harms of smoking among adolescents,
      whereas . . . the current 1984 Surgeon General’s warnings do not. A
      report of Canadian warnings indicated that pictorial cigarette warnings
      improved knowledge of specific negative health effects of smoking
      among adolescents (e.g., increased knowledge of bladder cancer,
      impotence in men, mouth cancer, gum or mouth disease, reduced
      growth in babies during pregnancy, and strokes).

Id. at 42,763.



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      The vast research literature supporting the relative effectiveness of large,

graphic warnings is bolstered by FDA’s own studies of the specific warnings

adopted in the 2020 Rule. The pivotal study is FDA’s second quantitative consumer

research study (involving 9,760 participants) in which 16 text and image pairings

were tested, according to 10 outcome criteria, against the current Surgeon General’s

warnings. 2020 Rule, 85 Fed. Reg. at 15,658. The 11 final required pairings

outperformed the Surgeon General’s warnings on the two outcomes FDA previously

determined were most predictive for promoting understanding of the risks associated

with cigarette smoking:      whether the warning provided new information to

participants (“new information”) and whether participants learned something from

the warning (“self-reported learning”). Id. In addition, all 11 final required warnings

surpassed the Surgeon General’s warnings on six other measures: whether the

warnings led to more thinking about risks; perceived informativeness; perceived

understandability; perceived helpfulness in understanding health effects; attracted

more attention; and were better recalled. Id.

      Therefore, the rulemaking record includes abundant evidence that the

mandated large, graphic warnings directly advance the governmental interest in

greater public understanding of the health hazards of cigarettes, sufficient to meet

the standards set forth in both Zauderer and Central Hudson.




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III.   THE 2020 RULE WARNINGS DO NOT UNDULY BURDEN PROTECTED SPEECH
       AND ARE NOT MORE EXTENSIVE THAN NECESSARY TO INCREASE PUBLIC
       UNDERSTANDING OF THE HEALTH HARMS OF SMOKING.

       Because the 2020 Rule warnings do not unduly burden protected commercial

speech, and because they are not more extensive than necessary to serve the vital

governmental interest in increasing public understanding of the health harms of

smoking, they are constitutional under the standards in both Zauderer and Central

Hudson.

       As explained by this Court, “Zauderer does not countenance a broad inquiry

into whether disclosure requirements are ‘unduly burdensome’ in some abstract

sense, but instead instructs us to consider whether they unduly burden (or ‘chill’)

protected speech and thereby intrude on an entity’s First Amendment speech rights.”

Netchoice, L.L.C. v. Paxton, 49 F.4th at 486 (emphasis in original). It is fanciful to

suggest that the 2020 Rule warnings chill the ability of the cigarette companies to

convey their commercial messages. See Discount Tobacco, 674 F.3d at 530.

Plaintiffs will have 50% of the space on the front and back panels of cigarette packs

and 80% of the space for cigarette advertisements to feature their brand names, logos

and other promotional content. They also will be able to recapture additional pack

space now occupied by the outdated Surgeon General’s warnings.

       Despite the restrictions on cigarette advertising in the United States, FDA

noted that cigarette companies spent $1.3 billion in advertising and promotion in the


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U.S. in 2017. Proposed Rule, 84 Fed. Reg. at 42,759. Smokers and nonsmokers,

including adolescents, are constantly exposed to cigarette advertising through a

range of market channels, including print and digital media, outdoor locations, and

in and around retail establishments. Id. None of these First Amendment channels

are foreclosed by the mandated warnings. This is far from a case where protected

speech could be “drown[ed] out” by a required disclosure. See Nat’l Inst. of Family

& Life Advocates v. Becerra, 138 S.Ct. 2361, 2378 (2018).

       In addition, because the warnings are no more extensive than necessary to

serve the substantial governmental interest in greater public understanding of the

health harms of smoking, they do not violate the First Amendment even under the

intermediate scrutiny test of Central Hudson. In incorrectly applying Central

Hudson instead of Zauderer to the 2020 Rule warnings, the District Court relied

largely on the availability of “other options” for the government to increase public

understanding of the health harms of cigarettes, “such as increasing funding for anti-

smoking advertisements in various forms of media, increasing funding for speakers

and school instruction, and increasing anti-smoking resources in the government’s

own communications.” Op. 33.

      But Central Hudson does not require restrictions on commercial speech to be

the “least restrictive means” to further the government interest, as would be required

under the strict scrutiny standard applied to restrictions on political and other non-


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commercial speech. Greater New Orleans Broadcasting Ass’n, Inc. v. U.S., 527

U.S. 173, 188 (1999). The District Court acknowledged that Central Hudson review

requires only that the commercial speech regulation be “narrowly drawn” to the

governmental interest and “not more extensive than is necessary.” Op. 32 (quoting

Central Hudson). But the court’s analysis is far closer to strict scrutiny because it

suggests that the existence of other means of educating the public itself establishes

that product warnings violate the First Amendment.6

      Amici recognize the importance, and effectiveness, of public education

campaigns of the kind suggested by the District Court, but effective health warnings

on cigarette packs and advertising have unique advantages over other means of




6
  The District Court’s reliance (Op. 33) on the Supreme Court’s decision in National
Institute of Family and Life Advocates v. Becerra (“NIFLA”), supra, fails to
recognize that the factual context in that case bears no resemblance to warnings on
dangerous products. In NIFLA, the Court struck down a California statute requiring
that certain notices be posted at clinics known as “crisis pregnancy centers,” which
offered various types of assistance to pregnant women, but were clearly intended to
discourage the women from seeking abortions. 138 S.Ct. at 2368. The required
notices did not concern the services provided by the clinics, but rather disclosed
information about the availability of abortion services elsewhere. Id. at 2372. As
the Ninth Circuit has observed, the compelled disclosures in NIFLA “took sides in a
heated political controversy.” CTIA – The Wireless Ass’n v. City of Berkeley, Cal.,
928 F.3d 832, 845 (9th Cir. 2019). The Court in NIFLA itself distinguished the
mandatory notices at issue in that case from health and safety warnings: “We do not
question the legality of health and safety warnings long considered permissible . . . .”
138 S.Ct. at 2376.

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communicating the harms of smoking.7 The health warnings required by FDA’s

2020 Rule are particularly well-suited to serve the government’s interest because

they are “paired” with the product itself. This ensures that all potential cigarette

consumers are repeatedly exposed to the warnings at the point of sale, and prior to

use. These health warnings provide assurance that potential consumers, particularly

young people, have accurate health information before beginning to use a highly

addictive and lethal product.        School-based programs and anti-smoking

advertisements—to which young people may or may not be exposed—do not serve

this special function. The combined text and graphic warnings required by FDA’s

2020 Rule are no more extensive than necessary to ensure the effective

communication of the health risks of cigarettes to every consumer at the point where

purchase and use decisions are made. Thus, even under the Central Hudson

standard, the 2020 Rule warnings are consistent with the First Amendment.




7
  Amici have particular credibility on this point, as they have been involved for
decades in sponsoring and supporting public education campaigns on the dangers of
tobacco products and are thus well aware of the effectiveness of those campaigns.
See, e.g., 1960’s American Cancer Society PSAs, AM. CANCER SOC’Y (Oct. 15,
2010), https://www.youtube.com/watch?v=hHRcw3NPMD0; Quit Smoking,
Vaping and Tobacco Use, AM. HEART ASS’N, https://www.heart.org/en/healthy-
living/healthy-lifestyle/quit-smoking-tobacco; Quit Smoking, AM. LUNG ASS’N,
https://www.lung.org/quit-smoking; Youth Smoking and Vaping Prevention, TRUTH
INITIATIVE, https://truthinitiative.org/what-we-do/youth-smoking-prevention-
education.

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                                CONCLUSION
      For these reasons, the District Court decision should be reversed and the

injunction against implementation of the 2020 Rule warnings should be dissolved.




                                             Respectfully submitted,

                                             /s/ Scott P. Lewis
                                             Scott P. Lewis
                                             Austin P. Anderson
                                             ANDERSON & KREIGER LLP
                                             50 Milk Street, 21st Floor
                                             Boston, MA 02109
                                             Tel: (617) 621-6500
                                             Fax: (617) 621-6600
                                             Email: slewis@andersonkreiger.com
                                             Email: aanderson@andersonkreiger.com

                                             Dennis A. Henigan (Of Counsel)
                                             Connor Fuchs (Of Counsel)
                                             CAMPAIGN FOR TOBACCO-FREE KIDS
                                             1400 I St. NW, Suite 1200
                                             Washington, DC 20005
                                             Tel: (202) 481-9366
                                             Fax: (202) 296-5427
                                             Email: dhenigan@tobaccofreekids.org
                                             Email: cfuchs@tobaccofreekids.org

                                             Attorneys for Amici Curiae




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                                                     /s/ Scott P. Lewis
                                                     Scott P. Lewis
                                                     Attorney for Amici Curiae




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                         CERTIFICATE OF SERVICE
      I hereby certify that on May 18, 2023, I filed the foregoing via the CM/ECF

system, which will send a Notification of Electronic Filing to all counsel of record.


                                                      /s/ Scott P. Lewis
                                                      Scott P. Lewis
                                                      Attorney for Amici Curiae




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